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 8                              UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10    David BAESEL, individually and on                  Case No.: 20-cv-886-DMS-AGS
11    behalf of all others similarly situated,           PROTECTIVE ORDER
12                                     Plaintiffs,
13    v.
14    MUTUAL OF OMAHA MORTGAGE,
15    INC.,
16                                   Defendant.
17
18         The Court recognizes that at least some of the documents and information
19   ("materials") being sought through discovery in the above-captioned action are, for
20   competitive reasons, normally kept confidential by the parties. The parties have agreed to
21   be bound by the terms of this Protective Order (“Order”) in this action.
22         The materials to be exchanged throughout the course of the litigation between the
23   parties may contain trade secret or other confidential research, technical, cost, price,
24   marketing or other commercial information, as is contemplated by Federal Rule of Civil
25   Procedure 26(c)(1)(G). The purpose of this Order is to protect the confidentiality of such
26   materials as much as practical during the litigation. THEREFORE:
27                                          DEFINITIONS
28         1.     The term "confidential information" will mean and include information
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 1   contained or disclosed in any materials, including documents, portions of documents,
 2   answers to interrogatories, responses to requests for admissions, trial testimony, deposition
 3   testimony, and transcripts of trial testimony and depositions, including data, summaries,
 4   and compilations derived therefrom that is deemed to be confidential information by any
 5   party to which it belongs.
 6         2.     The term "materials" will include, but is not be limited to: documents;
 7   correspondence; memoranda; bulletins; blueprints; specifications; customer lists or other
 8   material that identify customers or potential customers; price lists or schedules or other
 9   matter identifying pricing; minutes; telegrams; letters; statements; cancelled checks;
10   contracts; invoices; drafts; books of account; worksheets; notes of conversations; desk
11   diaries; appointment books; expense accounts; recordings; photographs; motion pictures;
12   compilations from which information can be obtained and translated into reasonably usable
13   form through detection devices; sketches; drawings; notes (including laboratory notebooks
14   and records); reports; instructions; disclosures; other writings; models and prototypes and
15   other physical objects.
16         3.     The term "counsel" will mean outside counsel of record, and other attorneys,
17   paralegals, secretaries, and other support staff employed in the law firms identified below:
18   Kaufman P.A. and Squire Patton Boggs (US) LLP [“Counsel” also includes in-house
19   attorneys for Defendant.]
20                                       GENERAL RULES
21         4.     Each party to this litigation that produces or discloses any materials, answers
22   to interrogatories, responses to requests for admission, trial testimony, deposition
23   testimony, and transcripts of trial testimony and depositions, or information that the
24   producing party believes should be subject to this Protective Order may designate the same
25   as "CONFIDENTIAL" or "CONFIDENTIAL – FOR COUNSEL ONLY."
26         a.     Designation as "CONFIDENTIAL": Any party may designate information as
27   "CONFIDENTIAL" only if, in the good faith belief of such party and its counsel, the
28   unrestricted disclosure of such information could be potentially prejudicial to the business
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 1   or operations of such party.
 2         b.     Designation as "CONFIDENTIAL – FOR COUNSEL ONLY": Any party
 3   may designate information as "CONFIDENTIAL – FOR COUNSEL ONLY" only if, in
 4   the good faith belief of such party and its counsel, the information is among that considered
 5   to be most sensitive by the party, including but not limited to trade secret or other
 6   confidential research, development, financial or other commercial information.
 7         5.     In the event the producing party elects to produce materials for inspection, no
 8   marking need be made by the producing party in advance of the initial inspection. For
 9   purposes of the initial inspection, all materials produced will be considered as
10   "CONFIDENTIAL – FOR COUNSEL ONLY," and must be treated as such pursuant to
11   the terms of this Order. Thereafter, upon selection of specified materials for copying by the
12   inspecting party, the producing party must, within a reasonable time prior to producing
13   those materials to the inspecting party, mark the copies of those materials that contain
14   confidential information with the appropriate confidentiality marking.
15         6.     Whenever a deposition taken on behalf of any party involves a disclosure of
16   confidential information of any party:
17                a.    the deposition or portions of the deposition must be designated as
18                      containing confidential information subject to the provisions of this
19                      Order; such designation must be made on the record whenever possible,
20                      but a party may designate portions of depositions as containing
21                      confidential information after transcription of the proceedings; [A]
22                      party will have until fourteen (14) days after receipt of the deposition
23                      transcript to inform the other party or parties to the action of the
24                      portions of the transcript to be designated "CONFIDENTIAL" or
25                      "CONFIDENTIAL – FOR COUNSEL ONLY.”
26                b.    the disclosing party will have the right to exclude from attendance at
27                      the deposition, during such time as the confidential information is to be
28                      disclosed, any person other than the deponent, counsel (including their
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 1                      staff and associates), the court reporter, and the person(s) agreed upon
 2                      pursuant to paragraph 8 below; and
 3                c.    the originals of the deposition transcripts and all copies of the
 4                      deposition       must   bear   the    legend   "CONFIDENTIAL"         or
 5                      "CONFIDENTIAL – FOR COUNSEL ONLY," as appropriate, and the
 6                      original or any copy ultimately presented to a court for filing must not
 7                      be filed unless it can be accomplished under seal, identified as being
 8                      subject to this Order, and protected from being opened except by order
 9                      of this Court.
10         7.     All confidential information designated as "CONFIDENTIAL" or
11   "CONFIDENTIAL – FOR COUNSEL ONLY" must not be disclosed by the receiving
12   party to anyone other than those persons designated within this order and must be handled
13   in the manner set forth below and, in any event, must not be used for any purpose other
14   than in connection with this litigation, unless and until such designation is removed either
15   by agreement of the parties, or by order of the Court.
16         8.     Information designated "CONFIDENTIAL – FOR COUNSEL ONLY" must
17   be viewed only by counsel (as defined in paragraph 3) of the receiving party, and by
18   independent experts under the conditions set forth in this Paragraph. The right of any
19   independent expert to receive any confidential information will be subject to the advance
20   approval of such expert by the producing party or by permission of the Court. The party
21   seeking approval of an independent expert must provide the producing party with the name
22   and curriculum vitae of the proposed independent expert, and an executed copy of the form
23   attached hereto as Exhibit A, in advance of providing any confidential information of the
24   producing party to the expert. Any objection by the producing party to an independent
25   expert receiving confidential information must be made in writing within fourteen (14)
26   days following receipt of the identification of the proposed expert. Confidential
27   information may be disclosed to an independent expert if the fourteen (14) day period has
28   passed and no objection has been made. The approval of independent experts must not be
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 1   unreasonably withheld.
 2           9.    Information designated "confidential" must be viewed only by counsel (as
 3   defined in paragraph 3) of the receiving party, by independent experts (pursuant to the
 4   terms of paragraph 8), by court personnel, and by the additional individuals listed below,
 5   provided each such individual has read this Order in advance of disclosure and has agreed
 6   in writing to be bound by its terms:
 7                 a)     Executives who are required to participate in policy decisions with
 8                        reference to this action;
 9                 b)     Technical personnel of the parties with whom Counsel for the parties
10                        find it necessary to consult, in the discretion of such counsel, in
11                        preparation for trial of this action; and
12                 c)     Stenographic and clerical employees associated with the individuals
13                        identified above.
14           10.   With     respect    to     material    designated   "CONFIDENTIAL"          or
15   "CONFIDENTIAL – FOR COUNSEL ONLY," any person indicated on the face of the
16   document to be its originator, author or a recipient of a copy of the document, may be
17   shown the same.
18           11.   All information which has been designated as "CONFIDENTIAL" or
19   "CONFIDENTIAL – FOR COUNSEL ONLY" by the producing or disclosing party, and
20   any and all reproductions of that information, must be retained in the custody of the counsel
21   for the receiving party identified in paragraph 3, except that independent experts authorized
22   to view such information under the terms of this Order may retain custody of copies such
23   as are necessary for their participation in this litigation.
24           12.   Before any materials produced in discovery, answers to interrogatories,
25   responses to requests for admissions, deposition transcripts, or other documents which are
26   designated as confidential information are filed with the Court for any purpose, the party
27   seeking to file such material must seek permission of the Court to file the material under
28   seal.
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 1         13.    At any stage of these proceedings, any party may object to a designation of
 2   the materials as confidential information. The party objecting to confidentiality must
 3   notify, in writing, counsel for the designating party of the objected-to materials and the
 4   grounds for the objection. If the dispute is not resolved consensually between the parties
 5   within seven (7) days of receipt of such a notice of objections, the objecting party may
 6   move the Court for a ruling on the objection. The materials at issue must be treated as
 7   confidential information, as designated by the designating party, until the Court has ruled
 8   on the objection or the matter has been otherwise resolved.
 9         14.    All confidential information must be held in confidence by those inspecting
10   or receiving it and must be used only for purposes of this action. Counsel for each party,
11   and each person receiving confidential information must take reasonable precautions to
12   prevent the unauthorized or inadvertent disclosure of such information. If confidential
13   information is disclosed to any person other than a person authorized by this Order, the
14   party responsible for the unauthorized disclosure must immediately bring all pertinent facts
15   relating to the unauthorized disclosure to the attention of the other parties and, without
16   prejudice to any rights and remedies of the other parties, make every effort to prevent
17   further disclosure by the party and by the person(s) receiving the unauthorized disclosure.
18         15.    No party will be responsible to another party for disclosure of confidential
19   information under this Order if the information in question is not labeled or otherwise
20   identified as such in accordance with this Order.
21         16.     If a party, through inadvertence, produces any confidential information
22   without labeling or marking or otherwise designating it as such in accordance with this
23   Order, the designating party may give written notice to the receiving party that the
24   document or thing produced is deemed confidential information, and that the document or
25   thing produced should be treated as such in accordance with that designation under this
26   Order. The receiving party must treat the materials as confidential, once the designating
27   party so notifies the receiving party. If the receiving party has disclosed the materials before
28   receiving the designation, the receiving party must notify the designating party in writing
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 1   of each such disclosure. Counsel for the parties will agree on a mutually acceptable manner
 2   of labeling or marking the inadvertently produced materials as "CONFIDENTIAL" or
 3   "CONFIDENTIAL – FOR COUNSEL ONLY" – SUBJECT TO PROTECTIVE ORDER.
 4      17. Pursuant to Rule 502(d) of the Federal Rules of Evidence, the production of a
 5   privileged document, or a document subject to the work-product doctrine, whether
 6   inadvertent or otherwise, is not a waiver of privilege or protection from discovery in this
 7   case or in any other federal or state proceeding. In the event that a producing party believes
 8   in good faith that information or material(s) subject to attorney-client privilege, attorney
 9   work-product doctrine, or any other valid privilege or immunity has been produced,
10   counsel for the producing party shall notify all parties in writing immediately after learning
11   or discovering that such production has been made. Upon written notice by the producing
12   party of the production of a privileged document, each recipient of such produced
13   information or material(s) shall promptly return, sequester, or destroy the specified
14   information or material(s) and any copies it has; shall not use or disclose the information
15   or material(s) until the claim of privilege is resolved; shall take reasonable steps to retrieve
16   the information or material(s) if the party disclosed it before being notified; and may
17   promptly present the information or material(s) to the Court under seal for a determination
18   of the claim under Rule 26(b)(5)(B) of the Federal Rules of Civil Procedure. The motion
19   shall not assert as a ground for entering such an Order the fact or circumstances of the
20   inadvertent production. If information or material(s) appear to the receiving party to be
21   privileged, the receiving party shall promptly notify the producing party that privileged
22   information or material(s) may have been produced.
23         18.    Nothing within this order will prejudice the right of any party to object to the
24   production of any discovery material on the grounds that the material is protected as
25   privileged or as attorney work product.
26         19.    Nothing in this Order will bar counsel from rendering advice to their clients
27   with respect to this litigation and, in the course thereof, relying upon any information
28   designated as confidential information, provided that the contents of the information must
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 1   not be disclosed.
 2         20.    This Order will be without prejudice to the right of any party to oppose
 3   production of any information for lack of relevance or any other ground other than the mere
 4   presence of confidential information. The existence of this Order must not be used by either
 5   party as a basis for discovery that is otherwise improper under the Federal Rules of Civil
 6   Procedure.
 7         21.    Nothing within this order will be construed to prevent disclosure of
 8   confidential information if such disclosure is required by law or by order of the Court.
 9         22.    Upon final termination of this action, including any and all appeals, counsel
10   for each party must, upon request of the producing party, return all confidential information
11   to the party that produced the information, including any copies, excerpts, and summaries
12   of that information, or must destroy same at the option of the receiving party, and must
13   purge all such information from all machine-readable media on which it resides.
14   Notwithstanding the foregoing, counsel for each party may retain all pleadings, briefs,
15   memoranda, motions, and other documents filed with the Court that refer to or incorporate
16   confidential information, and will continue to be bound by this Order with respect to all
17   such retained information. Further, attorney work product materials that contain
18   confidential information need not be destroyed, but, if they are not destroyed, the person
19   in possession of the attorney work product will continue to be bound by this Order with
20   respect to all such retained information.
21         23.    The restrictions and obligations set forth within this order will not apply to
22   any information that: (a) the parties agree should not be designated confidential
23   information; (b) the parties agree, or the Court rules, is already public knowledge; (c) the
24   parties agree, or the Court rules, has become public knowledge other than as a result of
25   disclosure by the receiving party, its employees, or its agents in violation of this Order; or
26   (d) has come or will come into the receiving party's legitimate knowledge independently
27   of the production by the designating party. Prior knowledge must be established by pre-
28   production documentation.
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 1         24.    The restrictions and obligations within this order will not be deemed to
 2   prohibit discussions of any confidential information with anyone if that person already has
 3   or obtains legitimate possession of that information.
 4         25.    Transmission by email or some other currently utilized method of
 5   transmission is acceptable for all notification purposes within this Order.
 6         26.    This Order may be modified by agreement of the parties, subject to approval
 7   by the Court.
 8         27.       The Court may modify the terms and conditions of this Order for good cause,
 9   or in the interest of justice, or on its own order at any time in these proceedings. The parties
10   prefer that the Court provide them with notice of the Court's intent to modify the Order and
11   the content of those modifications, prior to entry of such an order.
12   Dated: January 11, 2021
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